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 1                                      IN THE UNITED STATES DISTRICT COURT

 2                                    FOR THE EASTERN DISTRICT OF CALIFORNIA

 3                                                    FRESNO DIVISION

 4

 5   THE UNITED STATES OF AMERICA,                                   )   No. 1:10-cr-00287—AWI
                                                                     )
 6                                           Plaintiff,              )
                                                                     )   ORDER ON
 7   vs.                                                             )   MOTION FOR JOINDER
                                                                     )
 8   ERIK CERVANTES-AGUILAR,                                         )
                                                                     )
 9                                           Defendant.              )
                                                                     )
10   ___________________________________                        ____)
11
                           AFTER    REVIEW       OF       THE       MOTION    OF    DEFENDANT    ERIK
12

13   CERVANTES-AGUILAR FOR LEAVE TO JOIN IN THE MOTION FOR DICOVERY AND

14   THE MOTION FOR SPECIFIC KYLES AND BRADY INFORMATION, AND UPON GOOD

15   CAUSE HAVING BEEN SHOWN, THE MOTION FOR JOINDER IS HEREBY GRANTED.
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     IT IS SO ORDERED.
23
     Dated:                 September 29, 2011
24
     DEAC_Signature-END:
                                                      CHIEF UNITED STATES DISTRICT JUDGE
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     0m8i788
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